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                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF CONNECTICUT
                               BRIDGEPORT DIVISION

                                                         )
 ERICA LAFFERTY; DAVID WHEELER;                          )
 FRANCINE WHEELER; JACQUELINE                            )
 BARDEN; MARK BARDEN; NICOLE                             )   ADV. PROC. NO. 22-05004
 HOCKLEY; IAN HOCKLEY; JENNIFER                          )
 HENSEL; JEREMY RICHMAN; DONNA                           )
 SOTO; CARLEE SOTO-PARISI; CARLOS                        )   May 31, 2022
 M. SOTO; JILLIAN SOTO; AND WILLIAM                      )
 ALDENBERG,                                              )
                                                         )
        Plaintiffs,                                      )
                                                         )
 v.                                                      )
                                                         )
 ALEX EMRIC JONES; INFOWARS, LLC;                        )
 FREE SPEECH SYSTEMS, LLC;                               )
 INFOWARS HEALTH, LLC; PRISON                            )
 PLANET TV, LLC; WOLFGANG                                )
 HALBIG; CORY T. SKLANKA; GENESIS                        )
 COMMUNICATIONS NETWORK, INC.;                           )
 and MIDAS RESOURCES, INC.,                              )
                                                         )
            Defendants.                                  )

                               WITHDRAWAL OF REMOVAL

       Pursuant to the Court’s order on May 24, 2022 (Dkt. 30), Bankruptcy Rule 7041

and Fed. R. Civ P. 41, Defendants Alex Emric Jones; Infowars, LLC; Free Speech

Systems, LLC; Infowars Health, LLC; and Prison Planet TV, LLC hereby withdraw their

removal of this action to this Court and the above-captioned adversary proceeding

created by it.




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Date: May 31, 2022                   Respectfully Submitted,


                                     Alex Emric Jones; Infowars, LLC; Free Speech
                                     Systems, LLC; Infowars Health, LLC; and
                                     Prison Planet TV, LLC

                                     By: /s/ Cameron L. Atkinson /s/
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                                CERTIFICATE OF SERVICE

     I hereby certify that on the date of filing, a true and correct copy of the foregoing
document was served by U.S.P.S. and, where indicated, email on the following parties:

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                                                              /s/Cameron L. Atkinson
                                                              .
                                                              Cameron L. Atkinson




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